103 F.3d 140
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Jerardo RODRIGUEZ, Plaintiff-Appellant,v.S. THOMPSON;  John Doe, Director of Oregon Prisons;  H.O.Myers, Defendants-Appellees.
    No. 96-35393.
    United States Court of Appeals, Ninth Circuit.
    Submitted Nov. 18, 1996.*Decided Nov. 20, 1996.
    
      Before:  PREGERSON, REINHARDT, and T.G. NELSON, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Jerardo Rodriguez, an Oregon state prisoner, appeals pro se the district court's summary judgment in favor of prison officials in Rodriguez's 42 U.S.C. § 1983 action alleging that defendants violated his due process rights by transferring him to the Intensive Management Unit of the Oregon State Penitentiary.  We have jurisdiction pursuant to 28 U.S.C. § 1291.  We review de novo the district court's grant of summary judgment, McGuckin v. Smith, 974 F.2d 1050, 1059 (9th Cir.1992), and we vacate and remand.
    
    
      3
      Before entering summary judgment, district courts are obligated to advise pro se prisoner litigants that they need to submit responsive evidence to ward off summary judgment.  Anderson v. Angelone, 86 F.3d 932, 934 (9th Cir.1996);  Arreola v. Angaong, 65 F.3d 801, 802 (9th Cir.1995) (per curiam);  Klingele v. Eikenberry, 849 F.2d 409, 411-12 (9th Cir.1988).  A review of the district court record in this appeal reveals that the district court failed to provide Rodriguez with this notice.  Accordingly, we vacate the district court's summary judgment and remand to allow the district court to advise Rodriguez of the Fed.R.Civ.P. 56 requirements and to give him an opportunity to respond adequately to defendants' motion for summary judgment.  See Anderson, 86 F.3d at 934.
    
    VACATED and REMANDED.1
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  See Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
      
        1
         Because of our disposition of this appeal, we do not consider the applicability, if any, of the Prison Litigation Reform Act, Pub.L. No. 104-134, 110 Stat. 1321 (1996)
      
    
    